2-6   5HYLVHG86'&0$

Criminal Case Cover Sheet                                                                    U.S. District Court - District of Massachusetts

Place of Offense:                             Category No.          II                      Investigating Agency       ATF/FBI

City       Worcester                                    Related Case Information:

County         Worcester                                 6XSHUVHGLQJ,QG,QI                            &DVH1R
                                                         6DPH'HIHQGDQW                               1HZ'HIHQGDQW
                                                         0DJLVWUDWH-XGJH&DVH1XPEHU
                                                         6HDUFK:DUUDQW&DVH1XPEHU
                                                         55IURP'LVWULFWRI

Defendant Information:

'HIHQGDQW1DPH           Vincent Eovacious                                            -XYHQLOH                G <HV G
                                                                                                                      ✔ 1R

                                                                                                                     ✔
                         ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDUG<HVG1R
$OLDV1DPH
$GGUHVV                   &LW\ 6WDWH Worcester, MA
                      2002
%LUWKGDWH <URQO\ BBBBB661          0054
                                  ODVW BBBBBBBB     M
                                                   6H[BBBBB                           W
                                                                                5DFHBBBBBBBBBBB         1DWLRQDOLW\BBBBBBBBBBBBBBBBBBBB

Defense Counsel if known:                                                                   $GGUHVV

Bar Number

U.S. Attorney Information:

AUSA          Danial Bennett                                                 %DU1XPEHULIDSSOLFDEOH       657436

Interpreter:               G <HV         ✔ 1R
                                         G                        /LVWODQJXDJHDQGRUGLDOHFW

Victims:                   G<HVG1R
                                 ✔     ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                 G <HV      1R

Matter to be SEALED:                     ✔
                                         G <HV          G      1R

           ✔
          G:DUUDQW5HTXHVWHG                             G5HJXODU3URFHVV                       G,Q&XVWRG\

Location Status:

Arrest Date

G $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                            LQ                                    
G $OUHDG\LQ6WDWH&XVWRG\DW                                             G6HUYLQJ6HQWHQFH       G$ZDLWLQJ7ULDO
G 2Q3UHWULDO5HOHDVH 2UGHUHGE\                                                          RQ

Charging Document:                       ✔
                                         G&RPSODLQW                  G,QIRUPDWLRQ                  G,QGLFWPHQW
                                                                                                                          2
Total # of Counts:                        G3HWW\                    G0LVGHPHDQRU                  ✔
                                                                                                           G)HORQ\

                                                  &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔
G         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

'DWH      06/03/2020                              6LJQDWXUHRI$86$
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'LVWULFW&RXUW&DVH1XPEHU 7REHILOOHGLQE\GHSXW\FOHUN 
1DPHRI'HIHQGDQW                 Vincent Eovacious

                                                                        86&&LWDWLRQV
                 ,QGH[.H\&RGH                                        'HVFULSWLRQRI2IIHQVH&KDUJHG    &RXQW1XPEHUV

6HW     18 U.S.C. s. 231                              Civil Disorder


6HW     26 U.S.C. s. 5861                             Unlawful Possession of an Unregistered Firearm


6HW


6HW


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